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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

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DAVID B. TRACEY, et al.,         :

                       Plaintiffs,                :    Civil Action
       v.                                              No. 16-11620-NMG
                                                  :
MASSACHUSETTS INSTITUTE OF
TECHNOLOGY, et al.,                               :

               Defendants.       :
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                 JOINT STIPULATION REGARDING 1) PLAINTIFFS’
        REMOVAL OF ABIGAIL P. JOHNSON FROM THEIR WITNESS LIST
     (DOC. 266) AND 2) NON-PARTIES ABIGAIL P. JOHNSON’S AND FMR LLC’S
     WITHDRAWAL OF THEIR MOTION FOR A PROTECTIVE ORDER (DOC. 244)

               IT IS HEREBY STIPULATED AND AGREED TO, by and between the

undersigned counsel for Plaintiffs and Non-Parties Abigail P. Johnson and FMR LLC as follows:

               1.      Plaintiffs, Defendants and Non-Parties Abigail P. Johnson and FMR LLC

have engaged in discussions to resolve Non-Parties Abigail P. Johnson’s and FMR LLC’s

Motion For A Protective Order and to streamline the presentation of testimony and evidence to

the Court. (Doc. 244.) After extensive negotiations, the matter has been resolved.

               2.      In order to facilitate and simplify fact finding, the parties to the lawsuit

have agreed to stipulate to certain facts that may be presented to the Court during trial. As a

result of this stipulation, Plaintiffs hereby remove Ms. Abigail P. Johnson from their witness list,

which was submitted to the Court on August 26, 2019 (Doc. 266).

               3.      Non-Parties Abigail P. Johnson and FMR LLC hereby withdraw, without

prejudice, their August 19, 2019 Motion For A Protective Order (Doc. 244), including all

documents filed in support thereof.
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Dated: September 5, 2019                   Respectfully submitted,

/s/ Jerome J. Schlichter                   /s/ James R. Carroll
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